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                                      Exhibit




                                EXHIBIT 1



                                      Exhibit 1                               000004
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                                                     Exhibit



                                                                                    Dated:

                                             PROMISSORY NOTE



                This Promissory Note is made as of ___________ by Sotera Wireless, Inc., a reorganized
        debtor (“Sotera”) pursuant to the confirmed plan of reorganization (“Plan”) effective on
        ___________.

                Sotera promises to pay (“Creditor”) on or before _________ the amount of $_________
        plus interest of 8% per annum computed on the basis of a 360 day year and actual days elapsed.

               This Note is subject to prepayment, in whole or in part, without payment of any premium
        or penalty. If prepaid in part, interest after prepayment shall accrue only on the unpaid balance.

               Presentment or endorsement of this check by Creditor or assignee constitutes agreement
        by Creditor that it will continue providing good or services to Sotera on the same terms as it did
        before September 30, 2017.



                                                         ____________________________
                                                         President, Sotera




4817-7902-4199.1

                                                     Exhibit 1                                      000005
